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                       IN THE UNITED STATES DISTRICT COURT
                        FOR THE EASTERN DISTRICT OF TEXAS
                                  TYLER DIVISION

 UNITED STATES OF AMERICA                       §
                                                §
                                                §
                                                §
 v.                                             §         CRIM ACTION 6:15-CR-53(2)
                                                §
 DIANA LYNN FORD                                §
                                                §
                                                §
                                                §

                 ORDER ADOPTING THE REPORT AND
       RECOMMENDATION OF THE UNITED STATES MAGISTRATE JUDGE


       The above-styled matter was referred to the Honorable K. Nicole Mitchell, United States

Magistrate Judge, for administration of a guilty plea under Rule 11 of the Federal Rules of

Criminal Procedure. Judge Mitchell conducted a hearing in the form and manner prescribed by

Federal Rule of Criminal Procedure 11 and issued her Report and Recommendation. Judge

Mitchell recommended that the Court accept Defendant’s guilty plea and conditionally approve

the FED. R. CRIM. P. 11(c)(1)(C) plea agreement. She further recommended that the Court finally

adjudge Defendant as guilty of Count 1 of the Information filed in this cause.

       In open court at the plea hearing on June 23, 2016, the parties waived their right to object

to the magistrate judge’s findings.      The Court is of the opinion that the Report and

Recommendation should be accepted. It is accordingly

       ORDERED that the Report and Recommendation of the United States Magistrate Judge

is ADOPTED. It is further




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.           ORDERED that Defendant’s guilty plea is accepted and approved by the Court. Further,

    the plea agreement is approved by the Court, conditioned upon a review of the presentence

    report. It is finally

            ORDERED that, pursuant to Defendant’s plea agreement, the Court finds Defendant

    GUILTY of Count 1 of the Information in the above-numbered cause and enters a

    JUDGMENT OF GUILTY against the Defendant as to Count 1 of the Information.

     SIGNED this 24th day of June, 2016.




                                                     ____________________________________
                                                     MICHAEL H. SCHNEIDER
                                                     UNITED STATES DISTRICT JUDGE




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